                      Case 20-30336 Document 1 Filed in TXSB on 01/21/20 Page 1 of 27


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               McDermott International, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          757 North Eldridge Parkway
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          Houston, Texas 77079
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Harris County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.mcdermott.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            McDermott International, Inc.                                      Case number (if known)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2131 (Support Activities for Mining)

8. Under which chapter of the                 Check One:
   Bankruptcy Code is the
   debtor filing?                             ☐ Chapter 7

                                              ☐ Chapter 9

                                              ☒ Chapter 11. Check all that apply:

                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                  4/01/22 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                  of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                ☒ A plan is being filed with this petition.

                                                                ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                              ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.       District                           When                      Case number
   within the last 8 years?                                                                      MM/DD/YYYY
     If more than 2 cases, attach a                  District                           When                      Case number
     separate list.                                                                              MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                   Relationship     Affiliate
                                                     Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                         District    Southern District of Texas
     List all cases. If more than 1,                                                                              When             1/21/2020
     attach a separate list.                        Case number, if known _______________________                                  MM / DD / YYYY



     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           McDermott International, Inc.                                     Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
        creditors1                        ☐     50-99                      ☐     5,001-10,000                       ☒    50,001-100,000
                                          ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☒   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           McDermott International, Inc.                                        Case number (if known)
          Name




16. Estimated liabilities             ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                      ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         1/21/2020
                                                               MM/ DD / YYYY


                                               /s/ John R. Castellano                                             John R. Castellano
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Authorized Signatory




18. Signature of attorney                      /s/ Matthew D. Cavenaugh                                       Date        1/21/2020
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Matthew D. Cavenaugh
                                               Printed name
                                               Jackson Walker L.L.P.
                                               Firm name
                                               1401 McKinney Street, Suite 1900
                                               Number                 Street
                                               Houston                                                                Texas             77010
                                               City                                                                   State               ZIP Code
                                               (713) 752-4200                                                         mcavenaugh@jw.com
                                               Contact phone                                                             Email address
                                               24062656                                                Texas
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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Official Form 201A (12/15)

                                              IN THE UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                          HOUSTON DIVISION
                                                                             )
        In re:                                                               )   Chapter 11
                                                                             )
        MCDERMOTT INTERNATIONAL, INC.,                                       )   Case No. 20-___________(___)
                                                                             )
                                          Debtor.                            )
                                                                             )
             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

              1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
          number is   001-08430

              2. The following financial data is the latest available information and refers to the debtor’s condition on
          September 30, 2019


                 (a)   Total assets                                              $   8,754,000,000
                 (b)   Total debts (including debts listed in 2.c., below)       $   9,863,000,000
                 (c)   Debt securities held by more than 500 holders                 N/A
                                                                                                                   Approximate
                                                                                                                   number of
                                                                                                                   holders:
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $


                 (d)   Number of shares of preferred stock                                                         860,0831
                 (e)   Number of shares of common stock                                                            193,081,2242


              Comments, if any: McDermott International, Inc. does not and cannot know the precise number of beneficial
          holders of any of the debt securities it has issued and does not believe that any such securities are held by more than
          500 holders.


              3. Brief description of debtor’s business: McDermott International, Inc. provides engineering, procurement,
          construction, and installation (“EPCI”) and technology services for customers in the energy industry. The company was
          founded in 1923 and is headquartered in Houston, Texas.


               4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
          voting securities of debtor:
          BlackRock, Inc. (11.7%); The Vanguard Group (10.32%); Chatterjee Management LP (10.03%);
          Dimensional Fund Advisors LP (5.11%)




1   As of January 21, 2020.

2   As of January 21, 2020.
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                        Southern District of Texas
                                       (State)                                                              ☐ Check if this is an
 Case number (if                                                                                                amended filing
 known):                                              Chapter      11



                                               Rider 1
                Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of McDermott International, Inc.

 McDermott International, Inc.                   850 Pine Street LLC                      A & B Builders, Ltd.
                                                                                          Arabian CBI Tank Manufacturing
 Aiton & Co Limited                              Arabian CBI Co Ltd.
                                                                                          Company Ltd.
                                                 Atlantic Contingency Constructors II,
 Asia Pacific Supply Co.                                                                  Atlantis Contractors Inc.
                                                 LLC
 Catalytic Distillation Technologies             CB&I (US) Holdings, Limited              CB&I Brazil Holdings, Inc.
 CB&I Canada Ltd.                                CB&I Clearfield, Inc.                    CB&I Cojafex B.V.
 CB&I Connecticut, Inc.                          CB&I Constructors Limited                CB&I El Dorado, Inc.
 CB&I Energy Services, LLC                       CB&I Europe B.V.                         CB&I Fabrication, LLC
                                                                                          CB&I Global Operations International,
 CB&I Finance Company Limited                    CB&I Financial Resources LLC
                                                                                          Pte. Ltd.
 CB&I Global Operations US Pte. Ltd.             CB&I Global, L.L.C.                      CB&I Group Inc.
 CB&I Group UK Holdings                          CB&I Holdco International, LLC           CB&I Holdco, LLC
 CB&I Holdings (UK) Limited                      CB&I Holdings B.V.                       CB&I Houston 06 LLC
 CB&I Houston 07 LLC                             CB&I Houston 08 LLC                      CB&I Houston 09 LLC
 CB&I Houston 10 LLC                             CB&I Houston 11 LLC                      CB&I Houston 12 LLC
 CB&I Houston 13 LLC                             CB&I Houston LLC                         CB&I International One, LLC
 CB&I International, Inc.                        CB&I International, LLC                  CB&I Lake Charles, L.L.C.
 CB&I Laurens, Inc.                              CB&I LLC                                 CB&I London
 CB&I Matamoros, S. de R. L. de C.V.             CB&I Middle East Holding, Inc.           CB&I Nederland B.V.
 CB&I North Carolina, Inc.                       CB&I Offshore Services, Inc.             CB&I Oil & Gas Europe B.V.
 CB&I Paddington Limited                         CB&I Power Company B.V.                  CB&I Power International, Inc.
 CB&I Power Limited                              CB&I Power, LLC                          CB&I Project Services Group, LLC
                                                 CB&I Rio Grande Valley Fabrication &
 CB&I Rio Grande Holdings, L.L.C.                                                         CB&I Rusland B.V.
                                                 Manufacturing, L.L.C.
 CB&I Singapore Pte. Ltd.                        CB&I Storage Tank Solutions LLC          CB&I STS Delaware LLC
 CB&I STS Holdings LLC                           CB&I Tyler LLC                           CB&I UK Limited
 CB&I Walker LA, L.L.C.                          CBI Americas Ltd.                        CBI Company B.V.
 CBI Company Ltd.                                CBI Company Two B.V.                     CBI Constructors Pty. Ltd.
 CBI Eastern Anstalt                             CBI HOLDCO TWO INC.                      CBI Overseas (Far East) Inc.
 CBI Overseas, LLC                               CBI Panama, S.A.                         CBI Services, LLC
 CBI UK Cayman Acquisition Limited               CBI US Holding Company Inc.              Central Trading Company Ltd.
 Chartering Company (Singapore) Pte.
                                                 Chemical Research and Licensing, LLC     Chicago Bridge & Iron (Antilles) N.V.
 Ltd.
                                                                                          Chicago Bridge & Iron Company
 Chicago Bridge & Iron Company                   Chicago Bridge & Iron Company
                                                                                          (Delaware)
 Chicago Bridge & Iron Company B.V.              Chicago Bridge de México, S.A. de C.V.   Comet II B.V.
 Constructors International, L.L.C.              CSA Trading Company Ltd.                 Eastern Marine Services, Inc.
 EDS Equipment Company, LLC                      Environmental Solutions (Cayman) Ltd.    Environmental Solutions Holding Ltd.
 Environmental Solutions Ltd.                    HBI Holdings, LLC                        Highland Trading Company, Ltd.
 Horton CBI, Limited                             Howe-Baker Engineers, Ltd.               Howe-Baker Holdings, L.L.C.
 Howe-Baker International Management,
                                                 Howe-Baker International, L.L.C.         Howe-Baker Management, L.L.C.
 LLC
 Hydro Marine Services, Inc.                     International Consultants, L.L.C.        J. Ray Holdings, Inc.
 J. Ray McDermott (Aust.) Holding Pty.
                                                 J. Ray McDermott (Norway), AS            J. Ray McDermott (Qingdao) Pte. Ltd.
 Limited
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J. Ray McDermott De Mexico, S.A. De
                                          J. Ray McDermott Far East, Inc.          J. Ray McDermott Holdings, LLC
C.V.
J. Ray McDermott International Vessels,
                                          J. Ray McDermott International, Inc.     J. Ray McDermott Solutions, Inc.
Ltd.
                                          J. Ray McDermott Underwater Services,
J. Ray McDermott Technology, Inc.                                                  J. Ray McDermott, S.A.
                                          Inc.
                                                                                   Lummus Consultants International
Lealand Finance Company B.V.              Lummus Arabia Ltd Co.
                                                                                   Limited
                                          Lummus Gasification Technology
Lummus Consultants International LLC                                               Lummus Technology B.V.
                                          Licensing LLC
Lummus Technology Heat Transfer B.V.      Lummus Technology International LLC      Lummus Technology LLC
Lummus Technology Overseas LLC            Lummus Technology Services LLC           Lummus Technology Ventures LLC
Lutech Project Solutions B.V.             Lutech Projects B.V.                     Lutech Resources B.V.
Lutech Resources Canada Ltd.              Lutech Resources Inc.                    Lutech Resources Limited
Matrix Engineering, Ltd.                  Matrix Management Services, LLC          McDermott (Amazon Chartering), Inc.
McDermott Arabia Company Limited          McDermott Asia Pacific Pte. Ltd.         McDermott Asia Pacific Sdn. Bhd.
McDermott Australia Pty. Ltd.             McDermott Blackbird Holdings, LLC        McDermott Caspian Contractors, Inc.
McDermott Cayman Ltd.                     McDermott Eastern Hemisphere, Ltd.       McDermott Engineering, LLC
                                          McDermott Gulf Operating Company,
McDermott Finance L.L.C.                                                           McDermott Holdings (U.K.) Limited
                                          Inc.
McDermott International Investments       McDermott International Management,      McDermott International Marine
Co., Inc.                                 S. de RL.                                Investments N.V.
McDermott International Trading Co.,
                                          McDermott International Vessels, Inc.    McDermott Investments, LLC
Inc.
McDermott Marine Construction Limited     McDermott Marine Mexico, S.A. de C.V.    McDermott Middle East, Inc.
McDermott Offshore Services Company,                                               McDermott Overseas Investment Co.
                                          McDermott Old JV Office, Inc.
Inc.                                                                               N.V.
                                          McDermott Serviços Offshore do Brasil
McDermott Overseas, Inc.                                                           McDermott Subsea Engineering, Inc.
                                          Ltda.
McDermott Subsea, Inc.                    McDermott Technology (2), B.V.           McDermott Technology (3), B.V.
McDermott Technology (Americas), Inc.     McDermott Technology (US), Inc.          McDermott Technology, B.V.
McDermott Technology, LLC                 McDermott Trinidad Ltd                   McDermott, Inc.
Netherlands Operating Company B.V.        North Atlantic Vessel, Inc.              North Ocean 105 AS
Novolen Technology Holdings C.V.          Nuclear Energy Holdings, L.L.C.          Oasis Supply Company, Ltd.
Oceanic Contractors, Inc.                 Offshore Pipelines International, Ltd.   OPI Vessels, Inc.
                                                                                   Pipework Engineering and
Oxford Metal Supply Limited               Pike Properties II, Inc.
                                                                                   Developments Limited
                                                                                   Servicios de Fabricacion de Altamira,
Prospect Industries (Holdings) Inc.       S C Woods, L.L.C.
                                                                                   S.A. de C.V.
Servicios Profesionales de Altamira,
                                          Shaw Beneco, Inc.                        Shaw Connex, Inc.
S.A. de C.V.
Shaw Dunn Limited                         Shaw E & I International Ltd.            Shaw Energy Services, Inc.
Shaw Fabricators, Inc.                    Shaw Far East Services, LLC              Shaw Group UK Limited
                                                                                   Shaw International Management
Shaw Home Louisiana, LLC                  Shaw International Inc.
                                                                                   Services Two, Inc.
Shaw JV Holdings, L.L.C.                  Shaw Managed Services, LLC               Shaw Management Services One, Inc.
                                          Shaw Nuclear Energy Holdings (UK),
Shaw NC Company, Inc.                                                              Shaw Overseas (Middle East) Ltd.
                                          Inc.
Shaw Power Delivery Systems, Inc.         Shaw Power Services Group, L.L.C.        Shaw Power Services, LLC
Shaw Power Technologies, Inc.             Shaw Process Fabricators, Inc.           Shaw Services, L.L.C.
                                          Shaw Transmission & Distribution         Shaw Transmission & Distribution
Shaw SSS Fabricators, Inc.
                                          Services International, Inc.             Services, Inc.
SparTEC, Inc.                             TVL Lender II, Inc.                      Varsy International N.V.
Whessoe Piping Systems Limited




                                                               2
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              Fill in this information to identify the case:

              Debtor name        McDermott International, Inc.

              United States Bankruptcy Court for the:              Southern District of Texas                                                            Check if this is an
              Case number (If known):                                                            (State)                                                  amended filing




            Official Form 204
            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
            Unsecured Claims and Are Not Insiders                                                                                                                        12/15

           A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
           debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
           claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
           holders of the 50 largest unsecured claims.


      Name of creditor and complete             Name, telephone number and email address           Nature of      Indicate if                     Amount of claim
     mailing address, including zip code                   of creditor contact                       claim         claim is      If the claim is fully unsecured, fill in only
                                                                                                (for example,    contingent,        unsecured claim amount. If claim is
                                                                                                 trade debts,   unliquidated,   partially secured, fill in total claim amount
                                                                                                 bank loans,     or disputed      and deduction for value of collateral or
                                                                                                 professional                       setoff to calculate unsecured claim.
                                                                                                services, and
                                                                                                                                Total claim, if Deduction            Unsecured
                                                                                                 government
                                                                                                                                  partially     for value of           claim
                                                                                                  contracts)
                                                                                                                                  secured       collateral or
                                                                                                                                                   setoff 1
  UMB BANK, N.A.                               UMB BANK, N.A.                                   10.625% Notes                                                      $1,398,222,222
  ATTN: MARINER KEMPER, CHAIRMAN,              ATTN: MARINER KEMPER, CHAIRMAN,                     due 2024
  PRESIDENT AND CHIEF EXECUTIVE                PRESIDENT AND CHIEF EXECUTIVE OFFICER
  OFFICER                                      PHONE: 816-842-2222
1 1010 GRAND BOULEVARD                         FAX: 816-860-3689
  KANSAS CITY MO 64106




  GREENSILL CAPITAL UK LTD                     GREENSILL CAPITAL UK LTD                           Working                                                             $34,798,024
  ATTN: LEX GREENSILL, CEO; JAMES              ATTN: LEX GREENSILL, CEO; JAMES DORAN, MD           Capital
  DORAN, MD                                    PHONE: 44-20-3436-2000                             Financing
  ONE SOUTHAMPTON STREET                       EMAIL: JAMESD@GREENSILL.COM
2 COVENT GARDEN
  LONDON WC2R 0LR
  UNITED KINGDOM

  H BUTTING GMBH CO KG                         H BUTTING GMBH CO KG                   Trade Payable                                                                   $28,132,766
  ATTN: STEFAN FUß, PERSONNEL                  ATTN: STEFAN FUß, PERSONNEL MANAGEMENT
  MANAGEMENT                                   PHONE: 49-5834-50-0
  BUTTING GROUP                                EMAIL: ANDREA.KIEL@BUTTING.DE;
3 GIFHORNER STRAßE 59                          STEFAN.FUSS@BUTTING.DE
  KNESEBECK 29379
  GERMANY




       1
              The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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      Name of creditor and complete        Name, telephone number and email address       Nature of      Indicate if                     Amount of claim
     mailing address, including zip code              of creditor contact                   claim         claim is      If the claim is fully unsecured, fill in only
                                                                                       (for example,    contingent,        unsecured claim amount. If claim is
                                                                                        trade debts,   unliquidated,   partially secured, fill in total claim amount
                                                                                        bank loans,     or disputed      and deduction for value of collateral or
                                                                                        professional                       setoff to calculate unsecured claim.
                                                                                       services, and
                                                                                                                       Total claim, if Deduction            Unsecured
                                                                                        government
                                                                                                                         partially     for value of           claim
                                                                                         contracts)
                                                                                                                         secured       collateral or
                                                                                                                                          setoff 1
  BOMAC CONTRACTORS LTD                    BOMAC CONTRACTORS LTD                       Trade Payable                                                         $13,561,121
  ATTN: RONALD W. HARRIS, VICE             ATTN: RONALD W. HARRIS, VICE PRESIDENT
  PRESIDENT AND CHIEF FINANCIAL            AND CHIEF FINANCIAL OFFICER
  OFFICER                                  PHONE: 409-842-2125
4 BEAUMONT OFFICE - CORPORATE              EMAIL: RONALD.HARRIS@BO-MAC.COM
  OFFICE
  1020 LINDBERGH DRIVE
  BEAUMONT, TX 77707
  ST CORPORATION                           ST CORPORATION                              Trade Payable                                                         $12,922,019
  ATTN: TAKASHI SUZUKI, PRESIDENT          ATTN: TAKASHI SUZUKI, PRESIDENT AND CEO
  AND CEO
  1-4-10 SHIMO-OCHIAI, SHINJUKU
5 WARD
  TOKYO 161-8540
  JAPAN

  TRINIDAD OFFSHORE FABRICATORS            TRINIDAD OFFSHORE FABRICATORS UNLIMITED Trade Payable                                                             $12,512,334
  UNLIMITED                                ATTN: JAVED MOHAMMED, GENERAL
  ATTN: JAVED MOHAMMED, GENERAL            MANAGER
  MANAGER                                  PHONE: 985-868-1950
6 LABDICO INDUSTRIAL ESTATE, 7B ST.        EMAIL: INFO@TOFCOTT.COM
  NEW JERSEY, BRIGHTON
  LA BREA
  TRINIDAD, WEST INDIES
  ALLSEAS MARINE CONTRACTORS SA            ALLSEAS MARINE CONTRACTORS SA ATTN:         Trade Payable   Unliquidated                                          $12,505,016
  ATTN: JOHAN VERMEER                      JOHAN VERMEER                                                Disputed
  ROUTE DE PRA DE PLAN 18                  PHONE: 41-21-948-3500
  CASE POSTALE 411                         FAX: 41-21-948-3599
7 CHÂTEL-SAINT-DENIS 1618
  SWITZERLAND


  ZAKHER MARINE SAUDI CO LTD          ZAKHER MARINE SAUDI CO LTD                       Trade Payable                                                         $11,073,177
  ATTN: ALI EL ALI, MANAGING DIRECTOR ATTN: ALI EL ALI, MANAGING DIRECTOR
  PLOT 103, AREA 16 ZMI YARD, ICADII  PHONE: 9712-5515151
  MUSAFAH
8 ABU DHABI
  UNITED ARAB EMIRATES


  DAVID E HARVEY BUILDERS INC              DAVID E HARVEY BUILDERS INC                 Trade Payable                                                         $10,141,649
  ATTN: KELLY M. HALL, CEO AND KEVIN       ATTN: KELLY M. HALL, CEO AND KEVIN ROGGE,
  ROGGE, PRESIDENT                         PRESIDENT
  3630 WESTCHASE                           PHONE: 713-783-8710
9 HOUSTON, TX 77042                        FAX: 713-783-5313
                          Case 20-30336 Document 1 Filed in TXSB on 01/21/20 Page 10 of 27




      Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
     mailing address, including zip code              of creditor contact                  claim         claim is      If the claim is fully unsecured, fill in only
                                                                                      (for example,    contingent,        unsecured claim amount. If claim is
                                                                                       trade debts,   unliquidated,   partially secured, fill in total claim amount
                                                                                       bank loans,     or disputed      and deduction for value of collateral or
                                                                                       professional                       setoff to calculate unsecured claim.
                                                                                      services, and
                                                                                                                      Total claim, if Deduction            Unsecured
                                                                                       government
                                                                                                                        partially     for value of           claim
                                                                                        contracts)
                                                                                                                        secured       collateral or
                                                                                                                                         setoff 1
   EISENBAU KRAMER GMBH                    EISENBAU KRAMER GMBH                       Trade Payable                                                           $9,591,703
   ATTN: DR. BORIS WERNIG, MANAGING        ATTN: DR. BORIS WERNIG, MANAGING
   DIRECTOR                                DIRECTOR
   KARL-KRÄMER-STRASSE 12, 57223           PHONE: 49-0-27-32-588-0
10 KREUZTAL-KREDENBACH                     FAX: 49-0-27-32-588-102
   PO-BOX 40 20, 57263 HILCHENBACH         EMAIL: INFO@EBKPIPE.COM
   KREUZTAL-KREDENBACH 57223
   GERMANY
   NEXANS NORWAY AS                  NEXANS NORWAY AS                                 Trade Payable                                                           $7,951,439
   ATTN: CHRISTOPHER GUERIN, CEO     ATTN: CHRISTOPHER GUERIN, CEO
   P.O.BOX 6450 ETTERSTAD            PHONE: 47-22-88-61-00
   OSLO N-0605                       FAX: 47-22-88-62-60
11 NORWAY                            EMAIL: FIRMAPOST@NEXANS.COM;
                                     LANGHUS.RESEPSJON@NEXANS.COM;
                                     NORGE.KUNDESERVICE@NEXANS.COM;
                                     TILBUD.MARKETLINES@NEXANS.COM
   SCANDINAVIAN FITTINGS AND FLANGES SCANDINAVIAN FITTINGS AND FLANGES AS             Trade Payable                                                           $7,479,930
   AS                                ATTN: TORE CHRISTIANSEN, CEO
   ATTN: TORE CHRISTIANSEN, CEO      PHONE: 47-51-63-96-15
   JACOB ASKELANDSV.5                FAX: 47-51-63-96-01
12 P.O. BOX 1175                     EMAIL: TC@SFFGROUP.COM
   SANDNES 4391
   NORWAY

   SAMKANG MT CO LTD                       SAMKANG MT CO LTDATTN: MOO-SUK SONG,       Trade Payable                                                           $7,445,023
   ATTN: MOO-SUK SONG, CEO                 CEO
   51-1 NAESAN 3-GIL                       PHONE: 82-55-673-7014
   DONGHAE-MYEON, GOSEONG-GUN              FAX: 82-55-673-7055
13 GYEONGSANGAM-DO 638-842




   JDR CABLE SYSTEMS LTD                   JDR CABLE SYSTEMS LTD                      Trade Payable                                                           $7,095,544
   ATTN: RICHARD TURNER, CEO               ATTN: RICHARD TURNER, CEO
   LITTLEPORT INNOVATION PARK              PHONE: 44-0-1353-860-022
   177 WISBECH ROAD                        FAX: 44 135-386-1388
14 LITTLEPORT, CAMBRIDGESHIRE CB6          EMAIL: RTURNER@JDRGLOBAL.COM
   1RA
   UNITED KINGDOM

   SSAB                                    SSAB                                       Trade Payable                                                           $6,579,896
   ATTN: HAKAN BUSKHE, CEO                 ATTN: HAKAN BUSKHE, CEO
   KLARABERGSVIADUKTEN 70                  PHONE: 44-0-1353-860-022
   D6 PO BOX 70                            FAX: 44 135-386-1388
15 STOCKHOLM 101 21                        EMAIL: RTURNER@JDRGLOBAL.COM
   SWEDEN
                            Case 20-30336 Document 1 Filed in TXSB on 01/21/20 Page 11 of 27




        Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
       mailing address, including zip code              of creditor contact                  claim         claim is      If the claim is fully unsecured, fill in only
                                                                                        (for example,    contingent,        unsecured claim amount. If claim is
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                                                                                         bank loans,     or disputed      and deduction for value of collateral or
                                                                                         professional                       setoff to calculate unsecured claim.
                                                                                        services, and
                                                                                                                        Total claim, if Deduction            Unsecured
                                                                                         government
                                                                                                                          partially     for value of           claim
                                                                                          contracts)
                                                                                                                          secured       collateral or
                                                                                                                                           setoff 1
   OFFICE PAVILLION                          OFFICE PAVILLION                           Trade Payable                                                           $6,478,191
   ATTN: CELINA PEREZ, KATIE KLYNG-          ATTN: CELINA PEREZ, KATIE KLYNG-
   CUNNINGHAM, MOLLIE ELLERKAMP,             CUNNINGHAM, MOLLIE ELLERKAMP, MONIKA
   MONIKA PATEL, SHELLY LILES                PATEL, SHELLY LILES
   PO BOX 4346                               EMAIL: CPEREZ@OPHOUSTON.COM;
16 HOUSTON, TX 77210                         KCUNNINGHAM@OPHOUSTON.COM;
                                             MELLERKAMP@OPHOUSTON.COM;
   OFFICE PAVILLION                          MPATEL@OPHOUSTON.COM;
   10030 BENT OAK DR.                        SLILES@OPHOUSTON.COM
   HOUSTON TX 77040
   BRANDSAFWAY LLC                           BRANDSAFWAY LLC                            Trade Payable                                                           $6,207,652
   ATTN: BILL HAYES, PRESIDENT AND CEO       ATTN: BILL HAYES, PRESIDENT AND CEO
   1325 COBB INTERNATIONAL DRIVE             PHONE: 678-285-1400
   STE. A-1                                  FAX: 770-514-0285
17 KENNESAW, GA 30152




   LARSEN TOUBRO LTD                         LARSEN TOUBRO LTD                          Trade Payable                                                           $5,578,907
   ATTN: S. N. SUBRAHMANYAN, CEO             ATTN: S. N. SUBRAHMANYAN, CEO
   L&T HOUSE                                 PHONE: 91-22-67525656
   N.M. MARG, BALLARD ESTATE                 FAX: 91-22-67525893
18 MUMBAI, MAHARASHTRA 400 001               EMAIL: IGRC@LARSENTOUBRO.COM
   INDIA


   APACHE INDUSTRIAL SERVICES                APACHE INDUSTRIAL SERVICES                 Trade Payable                                                           $5,482,641
   ATTN: MIKE KNIGIN, CEO                    ATTN: MIKE KNIGIN, CEO
   250 ASSAY STREET                          PHONE: 713-450-9307
   SUITE 500                                 FAX: 713-450-2447
19 HOUSTON, TX 77044




     OCEANWIDE HOUSTON INC                   OCEANWIDE HOUSTON INC                      Trade Payable                                                           $5,329,897
     11767 KATY FREEWAY                      PHONE: 832-328-7001
     SUITE 400                               EMAIL: INFO@OCEANWIDEAMERICA.COM
     HOUSTON, TX 77079                       STEVE@OCEANWIDEAMERICA.COM

   OCEANWIDE HOUSTON INC
20 ATTN: STEVE MAKIN
   AVENIDA TULUM, MANZANA 1, LOTE
   40 Y 42
   SUPERMANZANA 2
   CANCUN QUINTANA ROO 77500
   MEXICO
   MZJV GPX                                  MZJV GPX                                   Trade Payable                                                           $5,213,005
   3752 S GULFWAY DR.
   SABINE PASS, TX 77655

21
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        Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
       mailing address, including zip code              of creditor contact                  claim         claim is      If the claim is fully unsecured, fill in only
                                                                                        (for example,    contingent,        unsecured claim amount. If claim is
                                                                                         trade debts,   unliquidated,   partially secured, fill in total claim amount
                                                                                         bank loans,     or disputed      and deduction for value of collateral or
                                                                                         professional                       setoff to calculate unsecured claim.
                                                                                        services, and
                                                                                                                        Total claim, if Deduction            Unsecured
                                                                                         government
                                                                                                                          partially     for value of           claim
                                                                                          contracts)
                                                                                                                          secured       collateral or
                                                                                                                                           setoff 1
   TATA CONSULTANCY SERVICES LIMITED         TATA CONSULTANCY SERVICES LIMITED          Trade Payable                                                           $5,175,138
   ATTN: AP CONTACT1; ANIL BISHT; PO         ATTN: AP CONTACT1; ANIL BISHT; PO
   CONTACT1; PRAKASH KASAPPA;                CONTACT1; PRAKASH KASAPPA; PRAVIN
   PRAVIN MUNNALURI; RAMIT ARORA             MUNNALURI; RAMIT ARORA
   9TH FLOOR, PLOT NO 241/242, NIRMAL        PHONE: 91-22-6656-8484
22 BUILDING                                  FAX: 91-22-6656-8494
   BARRISTER RAJANI PATEL MARG,              EMAIL: ANIL.BISHT@TCS.COM;
   NARIMAN POINT                             PRAKASH.K@TCS.COM;
   MUMBAI, MAHARASHTRA 400021                PRAVINKUMAR.M@TCS.COM;
   INDIA                                     RAMIT.ARORA@TCS.COM
   JUBAIL ENERGY SERVICES CO JESCO           JUBAIL ENERGY SERVICES CO JESCO            Trade Payable                                                           $5,059,502
   ATTN: GABRIEL ANGEL MONTI, CEO            ATTN: GABRIEL ANGEL MONTI, CEO
   JUBAIL ENERGY SERVICES COMPANY            PHONE: 966-013-350 4999
   (JESCO)                                   FAX: 966-13-350 4696
23 P.O. BOX 10997                            EMAIL: SALES@JESCO.COM.SA
   JUBAIL INDUSTRIAL CITY 31961
   KINGDOM OF SAUDI ARABIA

     SUN INDUSTRIAL GROUP LLC                SUN INDUSTRIAL GROUP LLC                   Trade Payable                                                           $4,774,855
     ATTN: JARRETT "SMILEY" SMITH            ATTN: JARRETT "SMILEY" SMITH
     2437 WESTWOOD RD                        PHONE: 337-436-2324
     WESTLAKE, LA 70669                      FAX: 337-419-0957
24




   MITSUBISHI CORPORATION                    MITSUBISHI CORPORATION                     Trade Payable                                                           $4,517,854
   ATTN: TAKEHIKO KAKIUCHI                   ATTN: TAKEHIKO KAKIUCHI
   MITSUBISHI SHOJI BUILDING                 PHONE: 81-3-3210-2121
   3-1, MARUNOUCHI 2-CHOME,
25 CHIYODA-KU
   TOKYO 100-8086
   JAPAN

   TECHNIP FRANCE SA                         TECHNIP FRANCE SA                          Trade Payable                                                           $4,106,004
   ATTN: ERIC LE-GUERCH; MARCELA             ATTN: ERIC LE-GUERCH; MARCELA SANTINI;
   SANTINI; STEPHANE PRADAT                  STEPHANE PRADAT
   6-8 ALLEE DE L'ARCHE                      PHONE: 33-0-1 47 78 21 21
26 PARIS LA DEFENSE CEDEX 92973              FAX: 33-1-47-78-33-40
   FRANCE                                    EMAIL: ERIC.LE-GUERCH@TECHNIPFMC.COM;
                                             MASANTINI@TECHNIP.COM;
                                             STEPHANE.PRADAT@TECHNIPFMC.COM
   DRESSER RAND INDIA PVT LTD                DRESSER RAND INDIA PVT LTD                 Trade Payable                                                           $3,926,222
   ATTN: DUNCAN REED                         ATTN: DUNCAN REED
   382330 187 GIDC ESTATE                    PHONE: 91-79-22805566
   NARODA AHMEDABAD, GJ 382330               EMAIL: DUNCAN.REED@SIEMENS.COM
27 INDIA
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        Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
       mailing address, including zip code              of creditor contact                  claim         claim is      If the claim is fully unsecured, fill in only
                                                                                        (for example,    contingent,        unsecured claim amount. If claim is
                                                                                         trade debts,   unliquidated,   partially secured, fill in total claim amount
                                                                                         bank loans,     or disputed      and deduction for value of collateral or
                                                                                         professional                       setoff to calculate unsecured claim.
                                                                                        services, and
                                                                                                                        Total claim, if Deduction            Unsecured
                                                                                         government
                                                                                                                          partially     for value of           claim
                                                                                          contracts)
                                                                                                                          secured       collateral or
                                                                                                                                           setoff 1
   HUTA HEGERFELD SAUDIA LTD                 HUTA HEGERFELD SAUDIA LTD                  Trade Payable                                                           $3,656,456
   ATTN: MARWAN ABI KARAM                    ATTN: MARWAN ABI KARAM
   P.O BOX 1830, LOTUS BUILDING,             PHONE: 966-XX-XXXXXXX / 6825413
   PRINCE SULTAN STREET                      FAX: 966-XX-XXXXXXX
28 AL ZAHRA’A DISTRICT                       EMAIL: ENGG@HUTA.COM.SA
   JEDDAH 21441
   SAUDI ARABIA

     TRANSHIP TRANSPORTES MARITIMOS          TRANSHIP TRANSPORTES MARITIMOS LTDA        Trade Payable                                                           $3,569,469
     LTDA                                    ATTN: ALEXANDRE KRZONKALLA, ROSANGELA
     ATTN: ALEXANDRE KRZONKALLA,             GOMES
     ROSANGELA GOMES                         PHONE: 55-21-2242-4242
     PRACA QUINZE DE NOVEMBRO 34 5           FAX: 55-21-2224-1444
     ANDAR                                   EMAIL: ALEXANDRE@TSTRANSHIP.COM.BR;
     CENTRO RIO DE JANEIRO 27930-070         RGOMES@TSTRANSHIP.COM.BR
     BRAZIL

29 TRANSHIP TRANSPORTES MARITIMOS
   LTDA
   ATTN: ALEXANDRE KRZONKALLA,
   ROSANGELA GOMES
   RUA MARIO TRILHA, 208 PARTE - ILHA
   DA CONCEIÇÃO
   NITEROI RIO DE JANEIRO 24050-190
   BRAZIL

   JPOWER SYSTEMS SAUDI CO LTD               JPOWER SYSTEMS SAUDI CO LTD                Trade Payable                                                           $3,559,571
   SUMITOMO ELECTRIC INDUSTRIES, LTD.        SUMITOMO ELECTRIC INDUSTRIES, LTD.
   ATTN: HIKARU HOSHINO, IINO                ATTN: HIKARU HOSHINO, IINO
   DAISUKE, REGAN PANGANIBAN,                PHONE: 81-0-6-6220-4141
30 YANAGAWA HIROYUKI                         EMAIL: HOSHINO-HIKARU@SEI.CO.JP; IINO-
   4-5-33, KITAHAMA, CHUO-KU                 DAISUKE@SEI.CO.JP; REGAN-
   OSAKA 541-0041                            PANGANIBAN@GR.SEI.CO.JP; YANAGAWA-
   JAPAN                                     HIROYUKI@SEI.CO.JP
   INDUSTRIE MECCANICHE DI BAGNOLO           INDUSTRIE MECCANICHE DI BAGNOLO SRL        Trade Payable                                                           $3,394,854
   SRL                                       ATTN: CLAUDIA DOSSENA
   ATTN: CLAUDIA DOSSENA                     PHONE: 39-0373-237611
   STRADA PAULLESE, 2                        FAX: 39-0373-648550
31 BAGNOLO CREMASCO (CR), LOMBARDY
   26010
   ITALY

     W INDUSTRIES OF TEXAS LLC               W INDUSTRIES OF TEXAS LLC                  Trade Payable                                                           $3,345,585
     ATTN: TOMMY LYNN                        ATTN: TOMMY LYNN
     6602 PETROPARK                          PHONE: 281-921-3080
     JERSEY VILLAGE, TX 77041                FAX: 713-856-9671
32                                           EMAIL: TOMMY_LYNN@W-INDUSTRIES.COM
     W INDUSTRIES OF TEXAS LLC
     ATTN: MICHAEL BAIN, P.E.
     11500 CHARLES ROAD
     HOUSTON TX 77041
                            Case 20-30336 Document 1 Filed in TXSB on 01/21/20 Page 14 of 27




        Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
       mailing address, including zip code              of creditor contact                  claim         claim is      If the claim is fully unsecured, fill in only
                                                                                        (for example,    contingent,        unsecured claim amount. If claim is
                                                                                         trade debts,   unliquidated,   partially secured, fill in total claim amount
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                                                                                        services, and
                                                                                                                        Total claim, if Deduction            Unsecured
                                                                                         government
                                                                                                                          partially     for value of           claim
                                                                                          contracts)
                                                                                                                          secured       collateral or
                                                                                                                                           setoff 1
   DOOSAN MECATEC CO LTD                     DOOSAN MECATEC CO LTD                      Trade Payable                                                           $3,324,974
   ATTN: NICOLE SEO                          ATTN: NICOLE SEO
   259, JEOKHYEON-RO, SEONGSAN-GU            EMAIL: AMNESIA1@DOOSAN.COM
   CHANGWON 51708
33 SOUTH KOREA




     BAKER CONCRETE CONSTRUCTION INC         BAKER CONCRETE CONSTRUCTION INC            Trade Payable                                                           $3,229,187
     ATTN: DAN BAKER, CEO                    ATTN: DAN BAKER, CEO
     900 NORTH GARVER ROAD                   PHONE: 513-539-4000
     MONROE, OH 45050                        FAX: 513-539-4380
34




     MORRISSHEA BRIDGE COMPANY               MORRISSHEA BRIDGE COMPANY                  Trade Payable                                                           $2,892,976
     ATTN: RICHARD SHEA, CEO                 ATTN: RICHARD SHEA, CEO
     609 SOUTH 20TH STREET                   PHONE: 205-956-9518
     IRONDALE, AL 35210                      FAX: 205-956-9579
35                                           EMAIL: INFO@MORRISSHEA.COM




   WHOLESALE ELECTRIC SUPPLY CO              WHOLESALE ELECTRIC SUPPLY CO              Trade Payable                                                            $2,839,479
   ATTN: ANDREW PRATT, CHRISTOPHER           ATTN: ANDREW PRATT, CHRISTOPHER
   BARNETT, WYATT ADAMS                      BARNETT, WYATT ADAMS
   4040 GULFFREEWAY                          PHONE: 713-748-6100
36 HOUSTON TX 77004                          FAX: 713-749-8415
                                             EMAIL: CBIGROUP@WHOLESALEELECTRIC.COM;
                                             CBARNETT@WHOLESALEELECTRIC.COM;
                                             WADAMS@WHOLESALEELECTRIC.COM
     ORACLE AMERICA INC                      ORACLE AMERICA INC                        Trade Payable                                                            $2,744,676
     ATTN: CHAD PERNICIARO, JD               ATTN: CHAD PERNICIARO, JD EDMONDS, JASON
     EDMONDS, JASON MINOR, KARTHEEK          MINOR, KARTHEEK TEJA, KEVIN FIDLER, LAURA
     TEJA, KEVIN FIDLER, LAURA LEE           LEE MARSIGLIO, LUCIA RADU, MICHELE LUKIC
     MARSIGLIO, LUCIA RADU, MICHELE          PHONE: 650-506-7000
     LUKIC                                   FAX: 650-506-7370
     P.O. BOX 203448                         EMAIL: CHAD.PERNICIARO@ORACLE.COM;
     DALLAS, TX 75320                        JD.EDMONDS@ORACLE.COM;
37                                           JASON.MINOR@ORACLE.COM;
     ORACLE AMERICA INC                      KARTHEEK.G@ORACLE.COM;
     ATTN: CHAD PERNICIARO, JD               KEVIN.FIDLER@ORACLE.COM;
     EDMONDS, JASON MINOR, KARTHEEK          LAURA.LEE.MARSIGLIO@ORACLE.COM;
     TEJA, KEVIN FIDLER, LAURA LEE           LUCIA.RADU@ORACLE.COM;
     MARSIGLIO, LUCIA RADU, MICHELE          MICHELE.LUKIC@ORACLE.COM
     LUKIC
     500 ORACLE PARKWAY
     REDWOOD SHORES CA 94065
                            Case 20-30336 Document 1 Filed in TXSB on 01/21/20 Page 15 of 27




        Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
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                                                                                        services, and
                                                                                                                        Total claim, if Deduction            Unsecured
                                                                                         government
                                                                                                                          partially     for value of           claim
                                                                                          contracts)
                                                                                                                          secured       collateral or
                                                                                                                                           setoff 1
   MMR CONSTRUCTORS INC                      MMR CONSTRUCTORS INC                       Trade Payable                                                           $2,729,320
   ATTN: JERAMIAH BLUM AND STEVE             ATTN: JERAMIAH BLUM AND STEVE BIEBER
   BIEBER                                    PHONE: 225-756-5090
   15961 AIRLINE HIGHWAY                     FAX: 225-753-7012
38 BATON ROUGE, LA 70817




   INSIGHT DIRECT USA INC                    NSIGHT DIRECT USA INC                      Trade Payable                                                           $2,572,424
   ATTN: KENNETH T. LAMNECK, CEO,            ATTN: KENNETH T. LAMNECK, CEO, GLYNIS
   GLYNIS BRYAN CFO                          BRYAN CFO
   6820 S. HARL AVE.                         PHONE: 800-467-4448
39 TEMPE, AZ 85283                           EMAIL: GLYNIS.BRYAN@INSIGHT.COM




     STORK TECHNICAL SERVICES TRINIDAD       STORK TECHNICAL SERVICES TRINIDAD AND Trade Payable                                                                $2,450,840
     AND TOBAGO LIMITED                      TOBAGO LIMITED
     ATTN: DARRYL MOHAN-SEENATH,             ATTN: DARRYL MOHAN-SEENATH, ANA-LISA
     ANA-LISA ALLEN, RAY DUNCAN, SHASHI      ALLEN, RAY DUNCAN, SHASHI MAHARAJH
     MAHARAJH                                PHONE: 31-0-88-089 10 00
     STORK HEADOFFICE – UTRECHT              FAX: 31-0-30-666 4733
     VAN DEVENTERLAAN 121                    EMAIL: RAY.DUNCAN@STORK.COM;
     UTRECHT 3528 AG                         SHASHI.MAHARAJH@STORK.COM;
     NETHERLANDS                             DARRYL.MOHAN-SEENATH@STORK.COM; ANA-
40                                           LISA.ALLEN@STORK.COM
     STORK TECHNICAL SERVICES TRINIDAD
     AND TOBAGO LIMITED
     ATTN: DARRYL MOHAN-SEENATH,
     ANA-LISA ALLEN, RAY DUNCAN, SHASHI
     MAHARAJH
     403 PACIFIC AVENUE
     CALIFORNIA
     TRINIDAD & TOBAGO
     CHEVRON LUMMUS GLOBAL                   CHEVRON LUMMUS GLOBAL                      Trade Payable                                                           $2,433,818
     ATTN: DR. MAL MADDOCK                   ATTN: DR. MAL MADDOCK
     1515 BROAD STREET                       PHONE: 973-893-2953
     BLOOMFIELD, NJ 7003                     FAX: 973-893-2412
41
   CHEVRON LUMMUS GLOBAL
   100 CHEVRON WAY BLDG 10, THIRD FL
   RICHMOND CA 94802
   AVEVA INC                                 VEVA INC                                   Trade Payable                                                           $2,383,826
   ATTN: MIKE KNIGIN, CEO                    ATTN: MIKE KNIGIN, CEO
   250 ASSAY STREET                          PHONE: 713-450-9307
   SUITE 500                                 FAX: 713-450-2447
43 HOUSTON, TX 77044
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        Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
       mailing address, including zip code              of creditor contact                  claim         claim is      If the claim is fully unsecured, fill in only
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                                                                                         bank loans,     or disputed      and deduction for value of collateral or
                                                                                         professional                       setoff to calculate unsecured claim.
                                                                                        services, and
                                                                                                                        Total claim, if Deduction            Unsecured
                                                                                         government
                                                                                                                          partially     for value of           claim
                                                                                          contracts)
                                                                                                                          secured       collateral or
                                                                                                                                           setoff 1
   UNITED RENTALS ATLANTA                    UNITED RENTALS ATLANTA                     Trade Payable                                                           $2,377,065
   ATTN: MICHAEL J. KNEELAND,                ATTN: MICHAEL J. KNEELAND, CHAIRMAN
   CHAIRMAN                                  PHONE: 203-622-3131
   100 FIRST STAMFORD PLACE STE 700          FAX: 203-622-6080
44 STAMFORD CT 06902




   YOKOGAWA EUROPE SOLUTIONS BV              YOKOGAWA EUROPE SOLUTIONS BV               Trade Payable                                                           $2,373,357
   ATTN: CHRISPIJIN M                        ATTN: CHRISPIJIN M
   EUROWEG 2 3825 HD AMERSFOORT              PHONE: 31-0-XX-XXXXXXX
   AMERSFOOT UTRECHT 3825 HD                 FAX: 31-0-88-464111
45 NETHERLANDS                               EMAIL:
                                             MARTIN.CHRISPIJN@NL.YOKOGAWA.COM


   SIEMENS AS                                SIEMENS AS                                 Trade Payable                                                           $2,336,653
   ATTN: BERNARDO GARROZI CARDOSO            ATTN: BERNARDO GARROZI CARDOSO
   ØSTRE AKER VEI 88                         PHONE: 49-69-6682-6664
   OSLO 596                                  FAX: 49-89-636-00
46 NORWAY                                    EMAIL: BERNARDO.GARROZI@SIEMENS.COM




     EATON CORPORATION                       EATON CORPORATION                          Trade Payable                                                           $2,336,299
     ATTN: IVANA DJORDJEVIC                  ATTN: IVANA DJORDJEVIC
     14120 BALLANTYNE CORP PLACES            EMAIL: IVANADJORDJEVIC@EATON.COM
     CHARLOTTE, NC 28277
47




   LOCAR GUINDASTES E TRANSPORTES            LOCAR GUINDASTES E TRANSPORTES           Trade Payable                                                             $2,333,785
   INTERMODAIS LTDA                          INTERMODAIS LTDA
   ATTN: JOSE HENRIQUE BRAVO ALVES &         ATTN: JOSE HENRIQUE BRAVO ALVES & MARCIO
   MARCIO AMARAL DE OLIVEIRA                 AMARAL DE OLIVEIRA
48 RUA JOÃO PEDRO BLUMENTHAL, 300            PHONE: 0800-770-0618
   GUARULHOS SP 7224150                      EMAIL: LICITACAO@LOCAR.COM.BR;
   BRAZIL                                    MARCIO.OLIVEIRA@LOCAR.COM.BR

   ABAHSAIN CONSOLIDATED CO FOR              ABAHSAIN CONSOLIDATED CO FOR ENERGY        Trade Payable                                                           $2,275,951
   ENERGY POWER LTD                          POWER LTD
   ATTN: SALAH ABAHSAIN                      ATTN: SALAH ABAHSAIN
   SALAH ABAHSAIN GROUP
49 KING ABDULAZIZ ST., P.O.BOX: 10800
   DAMMAM 31443
   KINGDOM OF SAUDI ARABIA
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      Name of creditor and complete        Name, telephone number and email address      Nature of      Indicate if                     Amount of claim
     mailing address, including zip code              of creditor contact                  claim         claim is      If the claim is fully unsecured, fill in only
                                                                                      (for example,    contingent,        unsecured claim amount. If claim is
                                                                                       trade debts,   unliquidated,   partially secured, fill in total claim amount
                                                                                       bank loans,     or disputed      and deduction for value of collateral or
                                                                                       professional                       setoff to calculate unsecured claim.
                                                                                      services, and
                                                                                                                      Total claim, if Deduction            Unsecured
                                                                                       government
                                                                                                                        partially     for value of           claim
                                                                                        contracts)
                                                                                                                        secured       collateral or
                                                                                                                                         setoff 1
   MARLIN NAVEGAÇÃO SA                     MARLIN NAVEGAÇÃO SA                      Trade Payable                                                             $2,264,074
   ATTN: ALEXANDRE BORGES, FELIPE          ATTN: ALEXANDRE BORGES, FELIPE CARVALHO,
   CARVALHO, HAROLDO CRUZ, RODRIGO         HAROLDO CRUZ, RODRIGO VAINER
   VAINER                                  PHONE: 55-21-3590-2445
50 PRAÇA FLORIANO, 19 - 1401               EMAIL:
   CENTRO RIO DE JANEIRO 20031-924         ALEXANDRE.BORGES@MARLINNAV.COM.BR;
   BRAZIL                                  FELIPE.CARVALHO@MARLINNAV.COM.BR;
                                           HAROLDO.CRUZ@MARLINNAV.COM.BR;
                                           RODRIGO.VAINER@MARLINNAV.COM.BR
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    MCDERMOTT INTERNATIONAL, INC.,                       )     Case No. 20-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor        Equity Holders         Address of Equity           Type of Equity      Percentage
                                                        Holder                  Security2            Held
                                               55 East 52nd Street
                          BlackRock, Inc.                                     Common Stock           11.7%
                                               New York, NY 10055
                          The Vanguard         100 Vanguard Boulevard
                                                                              Common Stock           10.32%
                          Group                Malvern, PA 19355-2331
    McDermott                                  888 Seventh Avenue,
    International, Inc.   Chatterjee           37th Floor
                                                                              Common Stock           10.03%
                          Management LP        New York, NY 10106-
                                               3002
                                               Building One
                          Dimensional Fund
                                               6300 Bee Cave Road             Common Stock           5.11%
                          Advisors LP
                                               Austin, Texas 78746




1      This list reflects holders of five percent or more of McDermott International, Inc.’s common stock. This
       list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. By the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
       the Debtors to File a Consolidated List of the 50 Largest Unsecured Creditors, (II) Waiving the
       Requirement to File a List of Equity Security Holders, and (III) Authorizing the Debtors to Redact Certain
       Personal Identification Information filed contemporaneously herewith, the Debtor is requesting a waiver
       of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.

2      Outstanding warrants are not reflected in ownership.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 MCDERMOTT INTERNATIONAL, INC.                        )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

             Shareholder                  Type of Equity Security         Approximate Percentage of
                                                                                Shares Held

 BlackRock, Inc.                             Common Stock                               11.7%
 The Vanguard Group                          Common Stock                              10.32%
 Chatterjee Management LP                    Common Stock                              10.03%
                                        12% Redeemable Preferred
 Goldman Sachs Group Inc.                                                               100%
                                                  Stock
 Goldman Sachs Group Inc.                   Series A Warrants                           100%
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    Fill in this information to identify the case and this filing:

   Debtor Name          McDermott International, Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ John R. Castellano
                                       1/21/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 John R. Castellano
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             MCDERMOTT INTERNATIONAL, INC.
                         RESOLUTIONS OF THE BOARD OF DIRECTORS

                        Entry into Restructuring Support Agreement

         WHEREAS, the Board has reviewed and considered certain materials presented by the
management of the Company and the Company’s financial and legal advisors; including, but not
limited to, materials regarding the liabilities and obligations of the Company, its liquidity, strategic
alternatives available to it, and the effect of the foregoing on the Company’s business, and has had
adequate opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to the Company; and

         WHEREAS, in the judgment of the Board it is desirable and in the best interest of the
Company, its interest holders, its creditors, and other parties in interest, that the Company enter
into that certain restructuring support agreement (the “Restructuring Support Agreement”) and any
other agreements, certificates, instruments, powers of attorney, letters, forms of transfer, deeds
and other documents in furtherance of a restructuring transaction or series of transactions,
including the sale or other disposition of all or substantially all of the Technology Business (as
defined in the Restructuring Support Agreement) (the “Technology Business Sale”), by which the
Company would restructure its debt obligations and other liabilities.

        NOW, THEREFORE, BE IT RESOLVED, that any of the Chief Executive Officer, Chief
Financial Officer, Chief Transformation Officer, any Executive Vice President, any Senior Vice
President, any Vice President, any Assistant Vice President, or any other duly appointed officer of
the Company (collectively, the “Authorized Officers”), acting alone or with one or more other
Authorized Officers be, and hereby is, authorized, empowered and directed to enter on behalf of
the Company into a restructuring transaction or series of restructuring transactions by which the
Company will restructure its debt obligations and other liabilities, including, but not limited to, the
Technology Business Sale and the other restructuring transactions described in the Restructuring
Support Agreement (collectively, the “Restructuring Transactions”).

General Authorizations

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
hereby is, authorized and empowered, in the name of and on behalf of the Company, to take or
cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
and file any and all such agreements, certificates, instruments, and other documents, in each case
as in such officer’s or officers’ judgment, shall be necessary, advisable, or desirable in order to fully
carry out the intent and accomplish the purposes of the resolutions adopted herein;

         FURTHER RESOLVED, that each of the Authorized Officers (and their designees and
delegates) be, and hereby is, authorized and empowered to take all actions or to not take any
action contemplated by these resolutions hereunder as the sole shareholder, partner, member,
managing member, or manager of each direct or indirect subsidiary of the Company, in each case,
in the name of the Company or the direct or indirect subsidiary of the Company, as such Authorized
Officer shall deem necessary or desirable in such Authorized Officers’ reasonable business
judgment as may be necessary or convenient to effectuate the purposes of the transactions
contemplated herein, including, but not limited to, directing the direct or indirect subsidiaries of the
Company, as applicable, to effectuate the Technology Business Sale.




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    Voluntary Petition for Relief Under Applicable Bankruptcy Law and Seeking
                                   Necessary Relief

        WHEREAS, in the judgment of the Board it is desirable and in the best interest of the
Company, its interest holders, its creditors, and other parties in interest, that the Company file or
cause to be filed a voluntary petition for relief (the “Bankruptcy Petition”) under the provisions of
chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended,
the “Bankruptcy Code”) for the Company;

       WHEREAS, in accordance with the requirements in the Company’s governing documents
and applicable law, the Board hereby consents to, authorizes and approves, the filing of the
Bankruptcy Petitions;

         NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Officers, acting alone
or with one or more other Authorized Officers be, and hereby is, authorized to execute (under the
common seal of the Company, if appropriate) and file on behalf of the Company and its subsidiaries
and affiliates all petitions, schedules, lists, and other motions, papers, or documents, and to take
any and all action that they deem necessary or proper to obtain such relief, including, but not limited
to, any action necessary or proper to maintain the ordinary course operations of the Company’s or
any of its subsidiary’s or affiliate’s businesses.

Retention of Professionals

          NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Officers, acting alone
or with one or more other Authorized Officers be, and hereby is, authorized, empowered and
directed to employ the following professionals on behalf of the Company: (i) the law firm of Kirkland
& Ellis LLP as general bankruptcy counsel; (ii) AlixPartners, LLP as its restructuring advisor;
(iii) Evercore Group L.L.C. as its investment banker; (iv) Arías, Fábrega & Fábrega (“AFF”) as its
Panamanian Counsel and (v) any other legal counsel, accountants, financial advisors, restructuring
advisors or other professionals the Authorized Officers deem necessary, appropriate or advisable;
each to represent and assist the Company in carrying out its duties and responsibilities and
exercising its rights under the Bankruptcy Code and any other applicable law (including, but not
limited to, the law firms filing any pleadings or responses); and in connection therewith, the
Authorized Officers, acting alone or with one or more other Authorized Officers be, and hereby is
authorized, empowered and directed, in accordance with the terms and conditions hereof, to
execute (under the common seal of the Company, if appropriate) appropriate retention agreements,
pay appropriate retainers, and to cause to be filed appropriate applications for authority to retain
such services;

         FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one or
more other Authorized Officers be, and hereby is, authorized, empowered and directed to execute
(under the common seal of the Company, if appropriate) and file all petitions, schedules, motions,
lists, applications, pleadings, and other papers, and to perform such further actions and execute
(under the common seal of the Company, if appropriate) such further documentation that
the Authorized Officers in their absolute discretion deem necessary, appropriate or desirable in
accordance with these resolutions;

          FURTHER RESOLVED, that Rodrigo Cardoze and any Authorized Officer, acting alone or
together with any other Authorized Officer, is authorized, empowered and directed to (i) grant on
behalf of the Company to AFF a general power of attorney for purposes of litigation in such form
and on such terms as they deem necessary and appropriate (the “General Power of Attorney”) or
(ii) to delegate to any other person the ability to grant such General Power of Attorney; and

         FURTHER RESOLVED, that AFF is authorized to cause the General Power of Attorney to
be filed with the Public Registry of Panama (Registro Público de Panamá).


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    Debtor-in-Possession Financing, Cash Collateral and Adequate Protection1

        WHEREAS, McDermott and/or certain subsidiaries of McDermott (together, the “DIP
Borrowers”) may enter into one or more secured or unsecured credit facilities pursuant to one or
more credit agreements, letter of credit agreements, indentures, note purchase agreements and/or
other documentation (collectively, the “DIP Facilities Loan Documentation”), whereby revolving
and/or term loans may be borrowed, notes and other securities may be issued, and/or letters of
credit may be issued in an aggregate principal/face amount of up to $2.810 billion at any one time
outstanding (the “DIP Credit Facilities”), in each case as may be increased from time to time in
accordance with the terms of the DIP Facilities Loan Documentation;

         WHEREAS, in connection with the DIP Credit Facilities, McDermott may be required to
execute and deliver: (i) pledge agreements, security agreements, mortgages (including real
property, vessel or fleet mortgages), control agreements, escrow agreements, security instruments
and other collateral agreements (collectively, the “DIP Facilities Collateral Agreements”), pursuant
to which McDermott would grant security interests in and liens on substantially all of its property
and assets (including, without limitation, vessels, real properties, equity interests in subsidiaries
and joint ventures, accounts receivable, bank accounts, securities accounts, equipment, intellectual
property and other properties and assets) to secure, among other things, the payment and
performance of the obligations of the DIP Borrowers under the DIP Facilities Loan Documentation
(such grants, collectively, the “Grants of Security Interest”); (ii) certain guaranty agreements
(collectively, the “DIP Facilities Guaranty Agreements”), whereby McDermott would guarantee the
payment and performance of the obligations of each DIP Borrower and the other of McDermott’s
subsidiaries under, among other things, the DIP Facilities Documentation (such guarantees,
collectively, the “Guarantees”); and (iii) intercreditor agreements, collateral trust agreements,
agreements, amendments, supplements, certificates, powers of attorney, proxies, documents,
papers, and instruments related to the foregoing for the purposes of consummating the transactions
contemplated by the DIP Facilities Loan Documentation and together with the DIP Facilities
Collateral Agreements and the DIP Facilities Guaranty Agreements, the “Financing
Documentation”.

        NOW, THEREFORE, BE IT RESOLVED, that the Company shall be, and hereby is,
authorized by the Board to:

        (a) undertake any and all transactions contemplated by that certain Debtor-in-Possession
        Credit Agreement (as amended, restated, supplemented or otherwise modified from time
        to time, the “DIP Credit Agreement”), by and among McDermott Technology (Americas),
        Inc., a Delaware corporation, McDermott Technology (US), Inc., a Delaware corporation
        and McDermott Technology, B.V., a private company with limited liability (besloten
        vennootschap met beperkte aansprakelijkheid) incorporated under the laws of the
        Netherlands, McDermott International, Inc., a Panamanian corporation, Credit Agricole
        Corporate and Investment Bank, as DIP Revolving Administrative Agent (as defined in the
        DIP Credit Agreement), and Barclays Bank PLS as DIP Term Loan Administrative Agent
        (as defined in the DIP Credit Agreement), and the lenders from time to time parties thereto,
        on substantially the terms and subject to the conditions described to the Board and as set
        forth in the DIP Credit Agreement or as may hereafter be fixed or authorized by the Board
        or each of the Authorized Officers (and their designees and delegates), acting alone or with
        one or more other Authorized Officers;

        (b) borrow funds from, request the issuance of letters of credit, provide guaranties to,
        pledge its assets as collateral to, and undertake any and all related transactions

1
    Capitalized terms used and not defined in the following resolutions have the meanings given
    to such terms in the DIP Documents, as defined herein.


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        contemplated thereby (collectively, the “Financing Transactions”) with such Lenders and
        on such terms as may be approved by any one or more of the Authorized Officers, as
        reasonably necessary for the continuing conduct of the affairs of the Company;

        (c) execute (under the common seal of the Company, if appropriate) and deliver and cause
        the Company to incur and perform its obligations under the DIP Credit Agreement and
        Financing Transactions;

        (d) finalize the DIP Credit Agreement and Financing Transactions, consistent in all material
        respects with those that have been presented to and reviewed by the Board; and

        (e) pay related fees and grant security interests in and liens upon some, any or all of the
        Company’s assets, as may be deemed necessary by any one or more of the Authorized
        Officers in connection with such Financing Transactions.

         FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one or
more other Authorized Officers be, and they hereby is, authorized, directed and empowered in the
name of, and on behalf of, the Company, as debtor and debtor-in-possession, to take such actions
and negotiate or cause to be prepared and negotiated and to execute (under the common seal of
the Company, if appropriate), file, deliver and cause the Company to incur and perform its
obligations under the DIP Credit Agreement and the DIP Facilities Loan Documentation, any
hedging agreements, any secured cash management agreements, any agreements with any letter
of credit issuer, and all other agreements, instruments and documents (including, without limitation,
any and all other intercreditor agreement, joinders, mortgages, deeds of trust, deeds of covenants,
consents, notes, pledge agreements, security agreements, control agreements, interest rate
swaps, caps, collars or similar hedging agreement and any agreements with any entity (including
governmental authorities) requiring or receiving cash collateral, letters of credit or other credit
support with proceeds from the DIP Credit Agreement) or any amendments to any of the
aforementioned documents or any waivers thereunder (including, without limitation, any
amendments, waivers, supplements, modifications, renewals, replacements, consolidations,
substitutions and extensions of the DIP Credit Agreement or any of the other DIP Facilities Loan
Documentation or any mortgage) that may be contemplated by, or required in connection with, the
DIP Loan Facilities Documentation and the Financing Transactions (collectively, the “DIP Financing
Documents”); incur and pay or cause to be paid all fees and expenses and engage such persons,
in each case, as such Authorized Officers shall in his or her judgment determine to be necessary
or appropriate to consummate the transactions contemplated by the DIP Credit Agreement and
DIP Loan Facilities Documentation, which determination shall be conclusively evidenced by his or
her execution or delivery thereof;

         FURTHER RESOLVED, that the form, terms and provisions of the DIP Credit Agreement
and each of the other DIP Financing Documents be, and the same hereby is in all respects
approved, and that any Authorized Officers are hereby authorized and empowered, in the name of
and on behalf of the Company, to execute (under the common seal of the Company, if appropriate),
deliver and file the DIP Credit Agreement and each of the DIP Financing Documents to which the
Company is a party, each in the form or substantially in the form thereof submitted to the Board,
with such changes, additions and modifications thereto as the Authorized Officers executing the
same shall approve, such approval to be conclusively evidenced by such Authorized Officer’s or
Authorized Officers’ execution and delivery thereof;

         FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one or
more other Authorized Officers be, and hereby is, authorized and empowered to authorize the DIP
Agent to file any UCC financing statements and any necessary assignments for security or other
documents in the name of the Company that the DIP Agent deems necessary or appropriate to
perfect any lien or security interest granted under the DIP Financing Documents, including any
such UCC financing statement containing a generic description of collateral, such as “all assets,”
“all property now or hereafter acquired” and other similar descriptions of like import, and to execute

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(under the common seal of the Company, if appropriate) and deliver, and to record or authorize the
recording of, such mortgages and deeds of trust in respect of real property of the Company, vessel
mortgages, and such other filings in respect of intellectual and other property of the Company, in
each case as the DIP Agent may reasonably request to perfect the security interests of the DIP
Agent on behalf of itself and the other secured parties under the DIP Financing Documents;

        FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one or
more other Authorized Officers be, and hereby is, authorized and empowered, in consultation with
the Board, to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the DIP Credit Agreement or any of
the other DIP Facilities Loan Documentation or any of the other DIP Financing Documents, and to
execute and file on behalf of the Company all petitions, schedules, lists and other motions, papers
or documents, which shall in his or her sole judgment be necessary, proper or advisable, which
determination shall be conclusively evidenced by his or her execution thereof;

        FURTHER RESOLVED, that the Company and its affiliates will obtain benefits from the
incurrence of the loans under the DIP Credit Agreement and the occurrence and consummation of
the Financing Transactions under the DIP Credit Agreement and the DIP Facilities Loan
Documentation and the transactions under the DIP Financing Documents, which are necessary
and appropriate to the conduct, promotion and attainment of the business of the Company;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash Collateral,
and in accordance with section 363 of the Bankruptcy Code, the Company will provide certain
adequate protection to the Secured Parties (the “Adequate Protection Obligations”), as
documented in a proposed interim order (the “Interim DIP Order”) and submitted for approval to the
Bankruptcy Court;

         FURTHER RESOLVED, that the form, terms, and provisions of the Interim DIP Order to
which the Company is or will be subject, and the actions and transactions contemplated thereby
be, and hereby is authorized, adopted, and approved, and each of the Authorized Officers of the
Company, acting alone or with one or more other Authorized Officers be, and hereby is, authorized
and empowered, in the name of and on behalf of the Company, to take such actions and negotiate,
or cause to be prepared and negotiated, and to execute (under the common seal of the Company,
if appropriate), deliver, perform, and cause the performance of, the Interim DIP Order and the DIP
Financing Documents (together with the Interim DIP Order, collectively, the “DIP Documents”),
incur and pay or cause to be paid all fees and expenses and engage such persons, in each case,
in the form or substantially in the form thereof submitted to the Board, with such changes, additions,
and modifications thereto as the Authorized Officers of the Company executing the same shall
approve, such approval to be conclusively evidenced by such Authorized Officers’ execution and
delivery thereof;

        FURTHER RESOLVED, that the Company, as debtor and debtor-in-possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and
to undertake any and all related transactions on substantially the same terms as contemplated
under the DIP Documents (collectively, the “Adequate Protection Transactions”);

        FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one or
more other Authorized Officers be, and hereby is, authorized, directed, and empowered in the name
of, and on behalf of, the Company, to take such actions as in their discretion is determined to be
necessary, appropriate, or desirable and execute (under the common seal of the Company, if
appropriate) the Adequate Protection Transactions, including delivery of: (a) the DIP Documents
and such agreements, certificates, instruments, guaranties, notices, and any and all other
documents, including, without limitation, any amendments to any DIP Documents (collectively, the
“Adequate Protection Documents”); (b) such other instruments, certificates, notices, assignments,
and documents as may be reasonably requested by the Agents; and (c) such forms of deposit,


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account control agreements, officer’s certificates, and compliance certificates as may be required
by the DIP Documents or any other Adequate Protection Documents; and

          FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one or
more other Authorized Officers be, and hereby is, authorized, directed, and empowered in the name
of, and on behalf of, the Company to take all such further actions, including, without limitation, to
pay or approve the payment of all fees and expenses payable in connection with the Adequate
Protection Transactions and all fees and expenses incurred by or on behalf of the Company in
connection with these resolutions, in accordance with the terms of the Adequate Protection
Documents, which shall in their sole judgment be necessary, appropriate, or desirable to perform
any of the Company’s obligations under or in connection with the Interim DIP Order or any of the
other Adequate Protection Documents and the transactions contemplated thereby and to carry out
fully the intent of these resolutions.

Miscellaneous

           FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to execute (under the common seal of the Company, if appropriate) and
file all petitions, schedules, motions, lists, applications, pleadings, and other papers to perform such
further actions and execute (under the common seal of the Company, if appropriate) such further
documentation that such Authorized Officer in their absolute discretion deems necessary,
appropriate or desirable in accordance with these resolutions;

          FURTHER RESOLVED, that any direct or indirect subsidiary of the Company or any
affiliate of the Company or any entity of which the Company or any subsidiary of the Company is
the sole member, general partner, managing member, or equivalent manager, as applicable, be,
and hereby is, authorized to take each of the actions described in these resolutions or any of the
actions authorized in these resolutions, and for the avoidance of doubt, none of the resolutions
contained herein, or action taken in furtherance hereto, are intended to have or cause an adverse
effect on any such subsidiary, affiliate, or the Company’s interest therein (including without
limitation, any automatic dissolution, divestiture, dissociation, or like event under applicable law);

         FURTHER RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Officers, the Authorized Officers, either individually or as otherwise required
by the Company’s governing documents and applicable law, be, and each of them hereby is,
authorized to execute (under the common seal of the Company, if appropriate), acknowledge,
deliver, and file any and all agreements, certificates, instruments, powers of attorney, letters, forms,
transfer, deeds and other documents on behalf of the Company relating to the Restructuring
Transactions;

         FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one or
more other Authorized Officers be, and hereby is, authorized and empowered, in the name of, and
on behalf of, the Company, to take or cause to be taken any and all such other and further action,
and to execute (under the common seal of the Company, if appropriate), acknowledge, deliver, and
file any and all such agreements, certificates, instruments, and other documents and to pay all
expenses, including but not limited to filing fees, in each case as in such Authorized Officer’s or
Authorized Officers’ judgment, shall be necessary, appropriate, or desirable in order to fully carry
out the intent and accomplish the purposes of the resolutions adopted herein;

        FURTHER RESOLVED, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, or hereby waives any right to have received such
notice;




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        FURTHER RESOLVED, that the Board has found that the Restructuring Transactions and
the foregoing resolutions were in the best interests of the Company and its stakeholders taken as
a whole;

          FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed and
ratified as the true acts and deeds of the Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of the Board; and

         FURTHER RESOLVED, that each of the Authorized Officers be, and each of them hereby
is, authorized to do all such other acts, deeds and other things as the Company itself may lawfully
do, in accordance with its governing documents and applicable law, howsoever arising in
connection with the matters above, or in furtherance of the intentions expressed in the foregoing
resolutions, including, but not limited to, the negotiation, finalization, execution (under the common
seal of the Company, if appropriate) and delivery of any other agreements, certificates, instruments,
powers of attorney, letters, forms, transfer, deeds and other documents whatsoever as the
individual acting may in his/her absolute and unfettered discretion approve, deem or determine
necessary, appropriate or advisable, such approval, deeming or determination to be conclusively
evidenced by said individual taking such action or the execution thereof.




                                      CERTIFICATE

        I, the undersigned, Assistant Secretary of McDermott International, Inc., a
Panamanian corporation, do hereby certify that the above and foregoing is a true and correct
copy of the resolutions adopted by the Board of Directors of said company at a duly noticed
meeting of the Board of Directors held on January 20, 2020 at which a quorum of the Board
of Directors was present, and that said resolutions have not been vacated or recalled or
amended and remain in full force and effect.
        IN WITNESS WHEREOF, I hereunto set my hand this 21 day of January 2020.




                                                  ________________________________
                                                  Kimberly J. Wolford
                                                  Assistant Secretary




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